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The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 23, 2025
______________________________________________________________________




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION

         In re:                                                       Chapter 11

         HIGHLAND CAPITAL MANAGEMENT, L.P., Case No. 19-34054-sgj

                                      Reorganized Debtor.




          ORDER GRANTING IN PART HIGHLAND CAPITAL MANAGEMENT, L.P. AND
          HIGHLAND CLAIMANT TRUST’S OPPOSED MOTION TO QUASH SUBPOENAS
                         SERVED BY PATRICK DAUGHERTY

                  Having considered (a) the Motion to Quash Subpoenas Served by Patrick Daugherty

     [Docket No. 4248] (the “Motion”) 1 filed by Highland Capital Management, L.P. (“Highland”), the

     reorganized debtor in the above-referenced bankruptcy case, and the Highland Claimant Trust (the

     “Trust,” and together with Highland, the “Movants”); (b) the Declaration of John A. Morris in

     Support of Motion to Quash Subpoenas Served by Patrick Daugherty [Docket No. 4249]; (c) the



     1
         Capitalized terms not defined herein shall take on the meanings ascribed to them in the Motion.



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HMIT Entities Joinder to Motion to Quash Subpoenas Served by Patrick Daugherty [Docket No.

4254] (the “Joinder”), filed by the HMIT Entities; 2 and (d) the Response to Motion to Quash

Subpoenas Served by Patrick Daugherty [Docket No. 4263] (the “Opposition”), filed by Patrick

Daugherty (“Mr. Daugherty”); and this Court having heard arguments at the hearing on June 23,

2025 in support of the Motion, Joinder, and Opposition; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that venue of this

matter in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that Movants’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and that no other notice need be provided; and this Court

having determined that the legal and factual bases set forth in the Motion establish good cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

           1.        The Motion is GRANTED IN PART as set forth herein.

           2.        The Subpoenas are quashed, but Mr. Daugherty shall be entitled to take the
                     depositions of (a) James P. Seery, Jr. and (b) Mark Patrick, with each deposition
                     lasting no longer than one (1) hour.

           3.        The Court shall retain exclusive jurisdiction with respect to all matters arising from
                     or relating to the implementation, interpretation, and enforcement of this Order.


                                                 ###End of Order###




2
    The “HMIT Entities” refer to the entities set forth in the Joinder.



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